Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 1 of 26

Exhibit 1
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 2 of 26

IN THE UNITED STATES DISTRICT COURT FOR THE

EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL LEAGUE | NO, 2:18-md-02323-AB
PLAYERS’ CONCUSSION INJURY
LITIGATION MDL NO.2323

Kevin Turner and Shawn Wooden, on behalf No. 2:]12-md-02323-AB
Of themselves and others similarly situated,

MDL NO, 2323
Plaintiffs,
Vv

National Football League and NFL
Properties, LLC, successor-in-interest to NFL
Properties, Inc.,

Defendants
THIS DOCUMENT RELATES TO:
ALL ACTIONS Hon. Anita B. Brody

DECLARATION OF GENE LOCKS IN SUPPORT OF MOTION FOR
RECONSIDERATION OF THE DENIAL OF THE LOCKS LAW FIRM’S MOTION
FOR APPOINTMENT OF ADMINISTRATIVE CLASS COUNSEL

GENE LOCKS declares pursuant to Section 28 U.S.C., Section 1748, based upon

personal knowledge, information and belief, the following:

1. As Class Counsel I am familiar with the Amended Class Action Settlement
Agreement (“Settlement Agreement”) in this case, including Section 30.1, titled

“No Assignment of Claims”.

Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 3 of 26

2. On or about December 8, 2017 I learned that Judge Brody had issued an
Explanation and Order on that date, ruling that Section 30.1 of the Settlement
Agreement prohibited the assignment of settlement benefits and invalidating all
agreements reached by members of the class with funding companies.

3. Prior to December 8, 2017 Explanation and Order neither ] nor anyone in my Firm
knew or believed that the Settlement Agreement prohibited transaction with funding
companies.

4. Noclient of the Locks Law Firm has accepted an advance from any Funding
Company, including Esquire Bank, since September, 2017.

5. Throughout the last ten years, I have been generally aware of numerous other mass
tort settlement agreements that contain similar clauses that broadly prohibit
assignments.

6. I am not aware of any other settlement in which a similar clause has been held to
prohibit transactions with funding companies.

7. At some time shortly after July 19, 2016, I learned that Mr. Seeger had mailed a
letter to all members of the class. In that letter, among other things, he warned class
members about accepting high interest loans from “predatory lenders.” Mr. Seeger
stated “if you are able to resist borrowing against any payinents you might be
eligible for under the settlement, you should.” He did not refer to assignments, nor
did he state that such loans are prohibited by the Settlement Agreement. This letter

gave me and the other members of my firm reason to believe that such transactions
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 4 of 26

were not prohibited by the Settlement Agreement. See letter from C. Seeger dated
July 19, 2016, attached hereto as Exhibit 1.

8. Iam aware that Mr. Seeger requested that a program be developed for Esquire Bank
to advance money to members of the Class in this tigation, that Mr. Seeger and his
partner played a role in developing that program, and that Mr. Seeger was a
member of the Board of Directors of Esquire Financial Holdings, Inc. until he
resigned that position in May, 2016.

9, lam also aware that contracts for advances on monetary awards from Esquire Bank
include language requiring players to execute an “assignment of rights” to Esquire
for their awards under the settlement. On their face, monetary advances from
Esquire Bank and monetary advances from other lenders appear equally
incompatible with the Court’s December, 2017 interpretation of Section 30.1 of the
settlement. The fact that Co-Lead Counsel Seeger was involved in facilitating
advances on monetary awards to former players that include “assignment of rights”
to Esquire Bank makes clear that, at the very least, the Locks Law Firm had no
reason to believe prior to the Court’s December, 2017 Order that advances on
monetary awards that included “assignment of rights” language were prohibited by
the Settlement. See Craig Mitnick letter of April 16, 2018 to the Honorable Anita
Brody and attachments thereto, attached at Exhibit 2. See also Reply Declaration of
Christopher S. Seeger (ECF doc. 9113-1.

10. I and my partners have been in regular contact with many members of the
Plaintiffs’ Executive Committee (PEC) and Plaintiffs’ Steering Committee (PSC)

throughout the course of this litigation. At no time prior to September, 2017 did
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 5 of 26

anyone mention to any of us the possibility that transactions with funding
companies were prohibited by the Settlement Agreement.

11. In his Opposition to the Locks Law Firm’s Motion for Appointment of
Administrative Class Counsel and his accompanying declaration, to which we were
not permitted a reply, Mr. Seeger made a number of allegations against our Firm
and me personally which were misleading and devoid of merit. Since they were not
referenced in this Court’s Order denying the motion, I will not specifically address
them at this time. I would welcome the opportunity to do so.

12. Neither I nor anyone in my Firm anticipated that the issue regarding funding
companies would be raised in Opposition to the Locks Law Firms’ Motion for
Appointment as Administrative Counsel.

13, The Locks Law Firm made a timely request for an opportunity to file a reply to any
opposition to its motion. That request was denied. As a result, the Firm has had no
opportunity to be heard on the issue of monetary advances from third-party funders
in conjunction with the Motion for Appointment of an Administrative Class
Counsel.

I declare under penalty of perjury that the ing is true and corrected.

Executed May 1, 2018.

GENE LOCKS, ESQUIRE” ~
Atty. Lip. #12969

Locks Law Firm

60] Walnut Street, Ste 720 East
Philadelphia, Pa. 19106
215-893-3434
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 6 of 26

Exhibit 1
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Case 2:12-md-02323-AB Document'§o##24sFiled 05/01/18 Page 9 of 26

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Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 10 of 26

Exhibit 2
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 11 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 1 of 16

MITNICK LAW OFFICE -s77Mitwice

_ALITIGATION AND CLAIM RESOLUTION FIRM www.MitnickLawOffice.com

New Jersey Office Reply to New Jersey Office : Philadelphia Office

35 Kings Highway East 123 South Broad Street Suite 2500

Haddonfield, NJ 08033 Philadelphia, PA 19109

P, 856.427.9000 P. 215.769.9000

F. 856.429.2438 F, 856.429.2438
April 16, 2018

The Honorable Anita Brody

US DISTRICT COURT - EASTERN DISTRICT OF PA
James A. Byrne US Courthouse

601 Market St., Room 7613

Philadelphia, PA 19106-1717

RE: NFL Concussion Settlement
No. 2:12-md-02323-AB / MDL No. 2323

Dear Judge Brody:

On Friday, April 13, 2018 I received electronic service of “Mr. Seeger’s
“Opposition to the Motion of Locks Law Firm for appointment of Administrative
Counsel”. After reviewing the filing, I felt obligated let alone compelled to respond to
the allegations that Mr. Seeger crafted against my Firm, Mitnick Law Office, as well as

against me personally.

In his filing, Mr. Seeger specifically attacked my integrity through an allegation
whereby he asserts that I solicited players on behalf of Thrivest funding group, one of
the funding companies involved in an ongoing matter with the Court. In his response
to the Lock’s motion, Mr. Seeger attached an email from my office contending to be a
solicitation by me on behalf of the funding group. The substance of the email sent by
me to my clients addressed the status of the litigation at the time and then provided
information for those players or families who were considering funding. Prior to the
funding information being provided, the email clearly stated “I do not recommend
traditional funding companies who charge exorbitant rates”. Again, the email was sent
to my clients for informational purposes only and was in no way intended asa
solicitation on behalf of any perspective funding Company.

What is equally as bothersome is the fact that while Mr. Seeger attempts to
construct the inaccurate inference that I had a personal or professional relationship
with Thrivest, he intentionally fails to mention in his filing that he personally solicited
me in August of 2016 to assist Esquire Bank, another funding entity for which he held
a seat on the board of directors. I was asked by Mr. Seeger to “meet with and assist
Esquire in developing a funding program for Retired Players”. Mr. Seeger never
disclosed to me that he was either an active member of Esquire’s Board of Directors or
that he had recently resigned from that position, while possibly still holding an
interest in the Company, Either way, the fact was extremely disturbing to me when I
eventually found out about the conflict due to the fact that I had met with two of

A LITIGATION AND CLAIM RESOLUTION FIRM
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 12 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 2 of 16

The Honorable Anita Brody

RE: NFL Concussion Litigation
April 16, 2018

Page 2

Esquire’s executives in my office for a substantial period of time and had assisted
them with developing a funding formula for their proposed Concussion funding
program. | also assisted Esquire at Mr. Seeger’s suggestion while never being advised
that any eventual funding Agreement would contain an “Assignment” clause. I have
attached the relevant correspondence with Mr. Seeger and Esquire, as well as the
Esquire funding agreement which includes the assignment language. In any event,
why Mr. Seeger felt that it was necessary to include irrelevant, partial and inaccurate
information in his response to the Lock’s motion can only be construed as malignant

on his part.

I must also note that contrary to Mr. Seeger’s misguided assertions of
solicitation by me on behalf of Thrivest, only 2 of the 1100 retired players who I
represent obtained funding from Thrivest. That fact speaks volumes to the inaccuracy
of Mr. Seeger’s suggestions of solicitation, In any event, again, | have no idea what any
of this has to do with the opposition to Locks Law Firm’s request to become
Administrative Counsel, or my Firm’s joinder to that motion.

There is no legitimate reason why Mr. Seeger needs to practice in an unfair and
bias manner, or attempt to discredit other attorneys involved in this litigation. The
merits of the Settlement, the protection of the Players, fundamental fairness to all of
the attorneys involved in the matter should always be primary. If Mr. Seeger could
simply reflect on the dictates of common courtesy, the practice of law in this matter
would be far less contentious and the administration of justice for the Retired Players

better served.

Hopefully, Mr. Seeger will consider these words before he chastises another
attorney, especially one who has always put their clients first and one who has
constantly promoted the Settlement for which Mr. Seeger negotiated.

I thank your Honor for her time and consideration.

CRM/sig
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 13 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 3 of 16
Monday, April 16, 2018 at 10:07:41 AM Eastern Daylight Time

Subject: RE: intro
Date: Monday, August 1, 2016 at 10:22:40 AM Eastern Daylight Time

From: Ari Kornhaber
To: ‘Craig Mitnick’

Craig:
| apologize for the multiple messages/emails, but I'm reaching out.to you again at the suggestion of Chris

Seeger, Have you been getting my messages or are you away, etc? Anyway, please let me know If we can schedule a
few minutes to talk. | would greatly appreciate it.

---—Original Message—---

From: Cralg Mitnick [mailto:craig@craigmitnick.com]
Sent: Friday, February 13, 2015 12:49 PM

To: Ari Kornhaber

Cc: Chris Seeger; cralg mitnick

Subject: Re: Intro

Ari ls a pleasure to meet you. At least informal leave this way. And | have a feeling we'll get to meet each other
personally real soon. Chris thank you very much for the introduction. Sorry | am running around today because [ have
an event at my home tonight for 35 kids that are on my son’s crew team so | am available sporadically. Whenever you
have a chance please call me on my cell phone at 609-868-2300 and if you receive my voicemail, know that | will call
you right back. | have my phone with me and will throughout the rest of the day. | look forward to hearing from you.

And again, Chris thank you much for the introduction

Sent from my iPhone

On Feb 13, 2015, at 9:52 AM, Ari Kornhaber <Ar| Kornhaber@esqbank. com> wrote:
Thank you Chris. Craig, | jook forward to speaking with you. I'm am available today other than from 12:30-1:30.

Sent from my BlackBerry 10 smartphone on the Verizon Wireless 4G LTE network,
Original Message

From: Chris Seeger

Sent: Friday, February 13, 2015 6:49 AM

To: craig mitnick

Cc: Arl Kornhaber

Subject: Intro
Craig, i want.to introduce-you to a very close friend, Ari Kornhaber, who] think-can help you out with ail kinds of

banking needs and-.who works for a bank with a special relationship to the plaintiffs’ bar. I'd like to get you both on
the phone for 2 mins. Any time work today?
Sent from my iPhone

Please consider the environment before printing this email.
Confidentiality Notice: The information contained in this e-mail and any attachments are privileged, confidential

and protected from disclosure. If you are not the intended reciplent, you are hereby notified that any
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destroy any printouts of the e-mail and attachment.

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Page 1 of 1
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 14 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 4 of 16
Monday, April 16, 2018 at 10:10:33 AM Eastern Daylight Time

Subject: Fw: Allan @i
Date: Friday, September 16, 2016 at 6:42:15 PM Eastern Daylight Time

From: Ayal Glezer

To: Craig Mitnick
cc: Ari Kornhaber, Ave Doyle
Craig,

| ran the calc by Seeger and Buchanan today. David had a couple of suggestions that I will run by you. -

Also, see below regarding ea. Bid you discuss the new foe players with altzheimer and dementia to get a power
of attorney? | betieve they are required under the settlement agreement to sign the release with a power of attorney,

so will be needed anyhow.

From: Ave Doyle <Ave.Doyle@esqbank.com>
Sent: Friday, September 16, 2016 2:44 PM
To: Ari Kornhaber; Ayal Glezer

Subject: Allan Clark

Hi
I spoke with Mr ens explained we are finishing up the paperwork. He understands

i did ask for him to confirm his ailment and he did state Parkinson’s and Alzheimers. | asked if he had set up
any power of attorneys or representatives and he has not.

Lets discuss our next steps.

Ave

Ave Doyle | SVP & Retail Director
233 Broadway, Ste 820| New York, NY 10279
Direct: 212.286.3030 | Cell: 718.986.8561 | Fax: 212.286.9052

esquirebank.com

Please consider the environment before printing this email,

Confidentiality Natice: The information contained in this e-mail and any attachments are privileged, confidential and protected
from disclosure. if you are not the intended recipient, you are hereby notified that any dissemination, distribution or
duplication of this communication is strictly prohibited. If you have received this communication in error, please notify the
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Page lof 1
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 15 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 5 of 16
Monday, April 16, 2018 at 10:22:43 AM Eastern Daylight Time

Subject: NFL Calc Sheet v 11.xlsx

Date: Monday, September 19, 2016 at 2:23:34 PM Eastern Daylight Time
From: Ayal Glezer

To: Craig Mitnick

CC: David Buchanan

Attachments: NFL Calc Sheet v 11.xisx

Hi Craig,
i made the changes we discussed earlier and incorporated David Buchanan’s suggestions.as well to the

attached calc sheet.

David -! could not find the pay grid by year other than the one with range of years that we looked at on
Friday.

Thank you both for assisting the bank in putting together this loan program. .

AG

**Please note the new address below**

Ayal Glezer | Chief Lending Officer
233 Broadway, Ste 820 | New York, NY 10279
Direct: 212.286.3030 } Cell: 212.671.0712 | Fax: 212.286.9052

exquirebank.com

ATTENTION CUSTOMERS: For your protection, please remember to mask sensitive data, such as account numbers and tax
identification mumbers on all emaits (e.g. for SS# XXX-XX-(234, for TIN XX-XXX 1234, for ace. # NXXXRX 1234)

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duplicatian of this communication is strictly prohibited. If you have received this communication in error, please notify the
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Page 1 of 1
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 16 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 6 of 16

100 Jericho Quadrangle, Suite 100

Ud Esquire Bank Jericho, NY 11753

800.996.0213

Loan Number 1150001160
Date July 11, 2017

Dear ST

Thank you again for choosing Esquire Bank for your financing needs. Your application has been approved and
we will now start the process to close your loan. Included in this loan package are the following:

® Post Settlement Loan Note & Security Agreement
- To be signed and notarized by yourself and your Power of Attorney agent
e Term Page
* Itemization
2 Including Lenders / Liens / Judgments to be paid
® Wire Instruction Form
° Please verify the wire instructions for your account with your bankers
@ Spousal / Family Consent
* Survey |
® Privacy Notice

Please review all pages for accuracy and initial each page at the lower right hand corner. Once completed, the
original loan package is to be returned to:

Esquire Bank

100 Jericho Quadrangle, Suite 100
Jericho, NY 11752

Attention: Consumer Lending

Once the original package is returned to our offices, we will then complete the closing process and notify you
once your loan is to be funded. Should you have any questions regarding this.matter, or any of the information
contained herein, please feel free to contact Esquire Bank directly at 212.286.3030 or via facsimile at

212.286.9052. °

Sincerely,

Esquire Bank |
Consumer Lending

Page 1 of 13 D4
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 17 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 7 of 16

Gi Esquire Bank

(800) 994-0213 100 Jericho Quadrangle, Suite 100
Jericho, NY 11753

wwe. j com
Post Settlement Loan Note & Security Agreement
Toss Number” - 1150001160 Date July 11, 2017

Borrower ' we

TRUTH IN LENDING DISCLOSURE

[ARSUAL PERCENTAGE RATE The can of my [FINANCE CHARGE The dollar amount Ue credit] AMOUNT FINANCED The amoumiof endl | TOTAL OF PAYMENTS The umomtl cit have]
credit a3 a yearly inte. will cost me. provided ip me on my behalf. puld after [hove made all scheduled payments.
9.00% $6,957.90 $77,310.00 $84,267.90
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NUMBER OF PAYMENTS AMOUNT OF PAYMENTS WHEN PAYMENTS ARE DUE
1 $84,267.90 July 11, 2018

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;
Late Charge: Ife payment js late, [ will be charged 5% of the payment, but not more thon $5.00 for each payment

Prepaymeatt I vill nol have to puy 8 prenuum if] pay off my loan al any time prior to or at maturity.
Additional Information: See the real of this document for addivonal information about nonpayment, deFault, apy required repayment in full before che maturity date and
Prepayment

Heratzation of the Amount Financed: See below for Itemization of the Amount Finnnced.

i

In this note, ihe words “Tt,” me, “mine” and “my” or “undersigned” mean the Borrower, The word “Bank” means ESQUIRE BANK.
REPAYING MY LOAN: To repay my loan, J promise lo poy to the order of the Bank the sum of: $77,310.00
Seventy Seven Thousord Three Hundred Ten Dollars

plus interest et the rate of: 9.00% per year.

Borrower qn

so =
Ciy/State/Zip Code

Telephone i.

Interest will be charged beginning on the day of this note and continuing until the full amount of the term loan has been pald. ( will pay the term loan on the earlier of
(4) the day T receive the proceeds from the Litigation, or (b) the date thal is twelve (12) roonths from the date of this Agreement. Each payment accepted by the Bank
will be applied first on account on accrued interest and then on account of reduction in principal.

ASSIGNMENT OF LITIGATION PROCEEDS AND OTHER PROPERTY: As collateral security for my loan, ! assign to the Bank my entire right, titlé and
Interest (o all fonds that I am entided to receive under, in connection with or as a result of the Litigation (as described on the aeat page).

This assignment shall be a continuing one and shall be effective for any renewal of the above loan and/or deposit account, until tho loan balance is entirely paid.

WITHDRAWAL BY BANK: The Bank is hereby authorized to withdraw any arnounts on deposit in any account al the Bank, including accrued interest, if the
undersigned defaults in any of the undersigned’s debts to the Bank.

APPLICATION OF FUNDS: The Bank Tay apply the umounts withdrawn to any and all of my debts, including interest, collection costs and attorney’s (ees, if any.
Tunderetand the Bank will pay any remaining amounts to me, if my debts to the Bank are less than the amount in the Account I will continue to be liable to the Bank

if the amount in the Account ls fess than the amount of my debts to the Bank.
This assignment shall be ¢ a continuing one and shall be effective for any renewal of the above loan and/or deposit account, uoti} the loan balance is paid in full.

SIGNATORES AND ACKNOWLEDGEMENT OF RECEIPT: J have received and read a copy of this document and understand and agree (o ils provisions

Cilent rues 292

Bank Initial

IMPORTANT - CONSUMER IS BOUND BY THE TERMS OF ALL PAGES

1150001160

Baguire Dak [6 wn Squat Moule Lender nad a Member of FDIC.
Page 2 of 13
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 18 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 8 of 16

fy 4 &

a Esquire Bank

(800) 996-0213 100 Jericho Quadrangle, Suite 100
www, esquirebank, com Jericho, N'Y 11753

Loan Number
Borrower
Note Date

July 11, 2017

a

State of )
) ss,:
County of )
On the 20+ day of Duly in the year 20 | j before me, the undersigned, a Notary Public in and
for said State, personally appeared Darrell Bruce Irvin , personally known to me to be the

individual whose name is subscribed to the within instrument and acknowledged to me that he executed the same in
his capacity, and tha{ by his signature on the instrument, the individal or the person upon behalf of which the

individul act the i ment.
My Commission expires: al /o “/( 20 er

Lj
“Notary Public 7” i
(Notarial Seal) f “ ° Senet

f

My Appointment Explres
JANUARY 04, 2018

State of

County of

On the Poth day of : J uly in the year 20 [ 7 before me, the undersigned, personally appeared

Sandra,Lynn Irvin personally known to me or proved to me on the basis of satisfactory evidence
to be the individual whose name is subscribed to the within instrument and acknowledged to me that he executed the

same in his capacity as Attorney j Re for Darrell Bruce Irvin ; by virtue of a power of attorney
‘executed the Zech day, of th. Y , and that by his signature on the instrument, the individual, or the

fh uviad the indfvidual acted, executed the instrument.

My Commission expires: o|fo tf ZO (yr '

‘Notary Public
(Notarial Seal)

NOTARY PUBLIC

STATE OF NBS INGTON 1150001160

My Appalntment Expires
JANUARY’ 04, 2018

Page 3 of 13
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 19 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 9 of 16

i Esquire Bank

RUHVEN Gry dO HOI Mem @)tarso) sub leitcmri@) ON VPM ih iM Mel cet nia kei @) be WM Od bie On bis

PLACE OF PAYMENT: I will make payments to the Bank at 320 Old Country Road, Ste 101, Garden City, NY 11530, or at any of
the Bank's branches, or by mail to the address shown In the billing statement.

PREPAYING MY LOAN: | have the right to prepay the entire unpaid portion of the loan at any time. If | do pay off my loan
within the first 60 days | will pay the Bank interest on the unpatd portion of the loan up to the day | repay, plus

a prepayment premlum equal to: 0.00% of the amount prepaid.

LATE CHARGES: If | do not make any monthly payment within 10 days after It is due, | will pay a late charge of 5% (5 cents for
every $1.00) of the past due amount, but no more than $5.00 per payment.

SECURITY FOR LOAN; To protect the Bank if | default an my loan, | pledge and hereby grant to the Bank a security interest and
lien on all of my right, title and interest in and to any and all amounts to be pald, whether by settlement, judgment or
otherwise, In connectton with or as a result of the following lawsuit in which | am the plalntiff(s} {the “Litigatlon”}:

. Title of Action: GERRI; the National Football League Player's Concussion Litigation -

NFL Registration qs,

The Bank can apply any of this property against what | owe, | will take any and all actlons required to perfect the Bank's
security interest Int the property securing this loan, | will promptly execute and dellver all further instruments and documents,
and take all further action that may be necessary or desirable or that Bank may request, including but not limlted to sending
notices to third patties that any payments in connection with the Litigation be directed to the Bank, In order to perfect and
protect any security interest granted under this Note and Securlty Agreement or-to enable the Bank to exercise and enforce Its
. rights and remedies under this Note and Security Agreement with respect to any of the property securing this loan.
The Bank may file any and all documents, including but not limited to a Uniform Commercial Code financing statement, to
evidence and perfect Its security interest and lien in the proceeds of the Litigation and my other property.

rd ‘
REPRESENTATIONS: | represent that:
The Litigation has been fully and unconditionally settled, arid is not subject to appeal, revocation or change.
The net amount due me in connection with the Litigation, after payment of all attorneys fees, disbursements, _

structurad settlement and other charges Is: $656,000.00 (the “Net Amount”).

No person or party has any right of set off or security interest or other clafm of any kind agalnst the Net Amount other than
the Bank.

DEFAULT: I will bein default and the Bank can require that | immediately pay the unpaid portlon of the {oan plus interest
without notice or demand to me if:

| do not make any. payment on time; or

| make any false or misleading statement on the application for this loan; or

| become insolvent or go bankrupt; or

The Bank Js served with legal papers concerning money which | owe to others as debts or taxes; or
I die; or

| break any agreement or promise | have made in this note or any other agreement with the Bank; or

Anything happens which the Bank belleves endangers the property given as security or anyone else makes a

claim of any kind against the property; or
Anything happens which the Bank belleves reduces my abllity to repay this loan.

Client /
” Initial

Page 4 of 13
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 20 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 10 of 16

if the Bank requires full payment because of the occurrence of a default, | hereby waive presentment, demand for payment
and notice of dishonor.

ENFORCEMENT OF NOTE: The Bank can delay enforcing or waive any of Its rights under this note without losing them. The
Bank can only waive Its rights under this note in writing signed by the Bank. If the Bank fails to exercise any of its rights on one
or more occasions, it may stlll exercise them on any other occaslon. The Bank can also accept late payments or partlal
payments even though marked “Paid In Full” or otherwise without losing any rights under thls note.

COLLECTION COSTS AND LAWSUITS: If the Bank uses an attorney to collect thls loan, | agree to pay the Bank expenses of
collection, reasonable attorney's fees and court costs. | also agree that | will not be entitled to a jury trial in any lawsuit
between the Bank:and me involving this loan, and that if the Bank sues me | wlll not assert in that same lawsuit any clalm |

may have against the Bank.

BLANK SPACES AND CORRECTIONS: The Sank can fill in any blank spaces in thls note, date when the Bank makes the loan and
correct errors without notifying me.

LAW THAT APPLIES: This loan was made in the State of New York and shall be governed by New York State law.

SUBMISSION TO JURISDICTION. ! hereby Irrevocably submit to the Jurisdiction of the United States District Court in the
Eastern District of | Pennsylvania, or, only if there is no federal subject matter jurisdiction, In any state court in the County of
Nassau in the State of New York over,any action or proceeding arising out of or related to this Post Settlement Loan Note &

. Security Agreement, and agree with Bank that*personal jurisdiction rests with such courts for purposes of any action on or

- related to this Post Settlement Loan Note & Security Agreement. | hereby waive personal service by manual delivery and
agree that service of process may be made by prepaid certifled mail directed to me at the address for notices under this Post
’ Settlement Loan Note & Security Agreement, or at such other address as may be designated in writing by me to the Bank, and
that upon mailing of such process such service will be effective as if| was personally served. | agree that a final Judgment in
any such action or, proceeding shall be conclusive and may be enforced in other Jurisdictions by sult on the judgment or fn any
manner provided by law. ! further waive any objection to venue In any such action or proceeding on the basis of Inconvenient
forum. | agree that any action on or proceeding brought against Bank shall only be brought in such courts.

NOTICE OF FURNISHING OF NEGATIVE INFORMATION: We may report information about your account to credit bureaus.
Late payments, missed payments, or other defaults on your account may be reflected In your credit report.

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1150001160

Page 5 of 13
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 21 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 11 of 16

i Esquire Banx

(800) 996-0213 100 Jericho Quadrangle, Suite 100
www.esquirebank.com Jericho, NY 11753

MR A tO) ara WO Mas es a wT

Loan #

Borrower Name ap

Loan Amount $77,310.00

Prepaid Finance Charges

Application fee $0.00
Other $0.00
Amount Financed $77,310.00
Amount deposited to your Esquire account 50.00

Amount paid to others on your behalf
- oOo

. $0.00
- $0.00
. 20.00)
. $0.00
. $0.00

Balance of proceeds given to you directly $77,310.00
Client Initial pe

1150001160

Page 6 of 13
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 22 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 12 of 16

Uh Esquire’ Bank

(800) 9946-0213 100 Jericho Quadrangle, Suite 100

www, csquirebank.com Jericho, NY 11753
OS tay Wee ba el el aoe

TO: ,
Craig Mitnick Law Office
95 Kings Highway Easi
Haddonfield, NJ 08033
@is) 769-9000

You are hereby notified that on O7/1 (11 TTP a address (sa

(Assignor’), in conjunction with that certain titigation se\tlement entered«into in the matter of:

Claimant granted to Esquire Bank a security interest in and lien on all of the claimant's right, title ard interest in and lien on all of all
funds Claimant is to entitled to receive under, ln connection with or as a result of the above lidgation matier (" Proceeds”) as collateral
for claimant's loan from Esquire Bank ("Lender"). Pursuant to Claimant's Post Settlement Loan Nole & Security Agreement to Lender,
Claimant is obligated to repay the Joan in full upon receipt of Proceeds and hereby directs you to make payment of Proceeds directly to
Lender. As such, you are hereby instructed that prior to uny Proceeds heing released to Claimant, you must issue payment to Bsquire
Bank by electronic transfer, certified funds or a check from your attorney trust account made payable to Esquire Bank in the amount of
the Proceeds and to deliver such payment to the address set forth below for Esquire Bank. You are further instructed and acknowledge
that any dispibution mauve to Claimant or any third party of Claimant prior to satisfying Esquire Bank's Lender's lien as set Forth
above shall: act oso violation of this Notice of Lien and shali result in you being held legally liable for damages and attorney fees, in
addition to any loases suffered by Esquire Bank Lender bereunder.

Payment ofthe Proceeds must be delivered as follows:

Esquire Bank

320 Old Country Road
Garden City, New York 11530

Attn: Lending Department
‘Tax LL.D. No. XX-XXXXXXX

| By

Lender: . Esquire Bank
100 Jericho Quadrangle, Suite 100
Jericho, NY 11753

Clent Initlal b p
Se be

Loan # 1150001160

. By: Date

Page 7 of 13
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 23 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 13 of 16

Ub Esquire’ Bank

(800) 996-0213 LOO Jericho Quedrangte, Suite 100
wen csquirebpank com Jericho, NY 11753

AWD KO) inden ancy cal ad lin pled Endl ci

Borrower: eae

The undersigned Is the attorney of record In the below captioned case.

Il acknowledge the existence of Esquire Bank's loan to Borrower (If funded) and chat such loan Js bagad on the settlement proceeds and
Information set forth below, and further acknowledge notice of the fact that Borrower has granted Esquire Bank a Security Interest and Cen In
the proceeds of the below captloned case as a consequence of Borrower's Loan Note & Security Agreement with Esquire Bank.

| acknowledge that pursuant to the Loan Note’& Security Agreement, Borrower has directed that a portion of his or her proceeds be pald to
Esquire Bank to sailsfy a loan. { further acknowledge that | will honor the terms of the Loan Note & Security Agreement,

In addition, | know of no other lien In this case as a result of funding similar In nature to Esquire Bank with priority over Esquire Bank's lien that
will remaln atter funding of the Esquire Bank loan to Borfowes,except as noted in the itemization of Amount Flnanced, and | acknowledge that
Borrower's Loan Note & Securtty Agreement prohibits the Borrower from creating any other liens resulting from funding similar In nature to
Esquire Bank.

Prior to making any disidbution to Borrower, | will contact Esquire Bank to ascertain the amount dye Esquire Bank and will not pay any portion
af Borrower's settlement proceeds te Borrower or on Borrower's behalf (other than attorney's fees and disbursements for this case and any
prior lens) until Esquire Bank's lien fs satisfled In full, unless Esquire Bank has recelved all amounts tt is due (as determined by Esquire Benk)
directly from the NFL Concussion Settlement Administrator, In which case this firm’s obligation to make payment to Esquire Bank hereunder
shall be exiingulshed.

Unless payment of all amounts due Esquire Bank (as determined by Esquire Gank) Is made to Esquire Bank, | understand that marking 9 check or
accompanying lettar to the effect of a ralease of clalm or “In futl satisfaction”, will not have a legal effect and that Esquire Bank Is authorized to
deposit sald check without prejudice to Its rights to collect payment in full.

z

The undersigned represents that this case has settled but I have not yel recelved the settlement proceeds Into my escrow account:

ds i Natlonal Football League Player's Concussion Utigation

7
/ further acknowledge that the following Information provided by my firm to Esquire Bank Is true and accurate lo the best of my knowledge:
;

Gross Award $888,000
Attomey Fees -10.0% (88,800)
MOL Assessment 0.0% a
Advances Costs & Expenses L196 (10,000}
Medical Expensas ~15.0% (433,200)
Worker contps Uens / Other Liens 0.0% a
Structured Settlement 0.0% 9
Advanced to Client to Date 0.0% 0
i
NET PROCEEDS TO BORROWER 656,000
CB Existing oan 9
EB Existing Loar 0
£6 Existing Loan o
Proposed Loan 77,310
Total Loans To Esquire 77,310
Attorney Signature Date

PO — ea

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Page 8 of 13 Dy

Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 24 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 14 of 16

8 Esquire’ Bank

(800) 996-0213 100 Jericho Quadrangle Suite 100
www.esquirebank.com Jericho , NY 11753

Loan Number “eee

Borrower

Borrower Address Date Jaly }1, 2017

Loan Closing Instructions
Assuming your loan is approved by Esquire Bank, please indicate below how you would prefer to receive your
loan proceeds. Following the completion of all underwriting, approval and closing requirements, the funds wil]
be forwarded as‘described below. Any changes to your selection must be communicated to Esquire Bank no
later than the third day prior to funding. Please note the bank account must be in your name.

Please fund my loan by (Please select one method):

1) [7 Cashier Check
[ ] Mail [| Picked up by me in person at an Esquire Branch

If by Mail , please mail to my home address as stated above, or my new home address as follows:
Home Address

OR
2) [AY Wire Transfer as follows:

Account Holder Name(s) ¥
Name of Bank
Branch Address

Branch Phone #

*ABA Wire #

{
"Please confirm the #-
with your Bank

Account #
Account Type

Borrower's Signature
1150001160

Page 9 of 13 _
Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 25 of 26

Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 15 of 16

= Esquire’ Bank

| WHAT DOES ESQUIRE BANK
aiveags DO WITH YOUR PERSONAL INFORMATION?

Rev, A206

Francis! conmpames choose how they share your personal information. Federal
law gives consumers the nght to huvt some but not all sharmg. Federal law also
requires us to tell you how we collect, share and protect your personal information.
q Piease read this notice carefully to understand what we do.

The types of personal information we collect amd share depend on the product or
Ayre, service you have with us. This information can include:

e Social Security Number and income

* Account balances and transaction history

* Credit history and credit scores

When you are zo longer our customer, we cantinue to share your unformation as

described in this notice.

i [ j All financial companies need to share customers’ personal information to run their

hata everyday businesses. In the section below, we list the reasons financial companies

: 9] cap share their customers” personal information; the reasons Esquire Bank chooses

Aor

For our r everyday business | purposes — Yes No
such as to process your transactions, maintain
your account(s}, respoud te court orders and

investigations, or report to credit bureaus _

or our marketing purposes — Yes No
to offer cur products and services to you
For joint marketing with other fmancial Yes No
| companies

For our affiliates’ everyday business No We don't share

uy poses — information about your
haneactions and and experiences

For our affiliates’ everyday business No We don't share
purposes — ~ infonnation about your
qieditworthiness
For nonaffitiates to market to you No We don't share

Call 800-996-0215 go to wanw.esquirebank.com —— ]

Page 10 of 13

Case 2:12-md-02323-AB Document 9921-1 Filed 05/01/18 Page 26 of 26
Case 2:12-md-02323-AB Document 9888 Filed 04/17/18 Page 16 of 16

Tro proteet your pereead Porson bm KEsuthoniaed hevect
Hoot does Exquire Bank protect and use, we use security measures that comply with federal law.
my information? These measures include computer safeguards and secured files
| and buildings. Our employees are trained on the importance of
maintaming the confidentality of cistomer information.
We collect your persoaal information, for example, when you
Hov does Esquire Bank collect * Open an account or deposit money
my personal infomation? * Pay your bills or apply for a loan
« Use-your credit or debit card
We also collect your personal information from others, such as
credit bureaus. affiliates or other companies.
Fesdeal [aw gives you te right b lama ely
Why can’t I limit all shanng? =| « Sharing for affiliates’ everyday business purposes —
information about your creditworthmess
» Affbates from using your information to market to you
Sharing for nonaffiliates to market to you
Sate las nd nd coupe may give yo tons

* Esquire Bank does not share with our affiliates.

Companies not related by common ownership or control. They

Nonaffiliates can be financial and non-financial companies.

* Esquire Bank does not shara with nonaffiliatas so they can
market to you,
A formal agreement between nonaffiliated financial companies

Joint Marketing that together market financial products or services to you.

| © Ow Joint marketing parinars include insurance and financial
Service companias.

COMP-005 rev 6/2015

Page 11 of 13

